                                       United States District Court
                                          Northern District of Texas
                                           1100 Commerce Street
                                            Dallas, Texas 75242

Chambers of                                                                            214/753-2400
U.S. Magistrate Judge David L. Horan




                                               July 16, 2024

      Karen Mitchell, Clerk
      United States District Court
      Northern District of Texas
      1100 Commerce Street
      Dallas, Texas 75242

                    Re:    No. 3:24-cv-1797-X, Winger v. AT&T Inc.


      Dear Ms. Mitchell:

            Pursuant to the provisions of 28 U.S.C. § 455, I would appreciate it if you would
      please reassign the above-referenced case going forward to another magistrate judge
      for matters that may be referred in accordance with the usual procedure.

                                                   Sincerely,




                                                   David L. Horan
